 1   GARY M. RESTAINO
     United States Attorney
 2   District of Arizona
 3   KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
     MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
 4   PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
     ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
 5   Assistant U.S. Attorneys
     40 N. Central Avenue, Suite 1800
 6   Phoenix, Arizona 85004-4408
     Telephone (602) 514-7500
 7
     DAN G. BOYLE (Cal. Bar No. 332518, daniel.boyle2@usdoj.gov)
 8   Special Assistant U.S. Attorney
     312 North Spring Street
 9   Los Angeles, California 90012
     Telephone (213) 894-2426
10
11
12                        IN THE UNITED STATES DISTRICT COURT

13                             FOR THE DISTRICT OF ARIZONA

14   United States of America,                  No. CR-18-00464-PHX-DJH-JFM
15                         Plaintiff,           STIPULATION TO STAY ANCILLARY
16            v.                                PROCEEDINGS
17
18   Carl Allen Ferrer,

19                         Defendant.

20
21
22
23
24          The United States of America (the “government”) and all movants (as defined
25   herein), by and through their counsel of record, stipulate and request that the Court enter
26   the proposed order lodged contemporaneously herewith, staying these ancillary
27   proceedings until the conclusion of the related criminal trial in United States v. Michael
28   Lacey, et al., Case No. CR 2:18-422-PHX-DJH.
 1           The parties stipulate and request as follows:
 2           1.     On May 1, 2018, defendant Carl Alle Ferrer entered a plea of guilty in this
 3   action. See Dkt. 20.
 4           2.     On June 29, 2018, and July 1, 2018, Michael Lacey, James Larkin, Joye
 5   Vaught, Andrew Padilla, Scott Spear, John Brunst, Medalist Holdings, Inc., Leeward
 6   Holdings, LLC, Camarillo Holdings, LLC, Vermillion Holdings, LLC, Cereus Properties,
 7   LLC, and Shearwater Investments, LLC (hereinafter “movants”) moved for a hearing
 8   seeking determination of asserted third party interests in property alleged to be subject to
 9   forfeiture in this action. See Dkts. 28-40.
10           3.     An ancillary proceeding to determine movants’ asserted third party interests
11   in the assets subject to the preliminary orders of forfeiture in this action has not yet been
12   held.
13           4.     Movants Lacey, Larkin, Vaught, Padilla, Spear, and Brunst are criminal
14   defendants in Case No. CR 2:18-422-PHX-DJH, where trial has been continued pending
15   resolution of an interlocutory appeal.
16           5.     By this stipulation, the Parties agree to stay the ancillary proceedings in this
17   action until after the conclusion of a reset trial after the resolution of the interlocutory
18   appeal in Case No. CR 2:18-422-PHX-DJH (Ninth Circuit Case No. 22-10000). The
19   Parties also agree to seek an order to vacate all existing discovery and motion deadlines.
20           6.     Movants Lacey, Larkin, Brunst, and Spear agree not to seek, before the
21   conclusion of a reset trial after the resolution of the interlocutory appeal in Case No. CR
22   2:18-422-PHX-DJH (Ninth Circuit Case No. 22-10000), the release of any assets subject
23   to the preliminary orders of forfeiture in this action either through a Monsanto proceeding
24   in Case No. CR 2:18-422-PHX-DJH or a motion for release of only those assets in C.D.Cal.
25   Case No. 18-cv-8420-RGK.
26           7.     The Parties agree that this stipulation shall not act as waiver of any rights to
27   bring claims related to these restraints or the forfeiture or challenge the restraint or
28   forfeiture of any assets subject to the preliminary orders of forfeiture in this action after the


                                                   -2-
 1   conclusion of the reset trial in Case No. CR 2:18-422-PHX-DJH.
 2
      Dated: March 16, 2022                    Respectfully submitted,
 3
                                               GARY M. RESTAINO
 4                                             United States Attorney
 5
 6                                                s/Dan G. Boyle
                                               DAN G. BOYLE
 7                                             Special Assistant United States Attorney

 8                                             Attorneys for Plaintiff
                                               UNITED STATES OF AMERICA
 9
10   Pursuant to the District’s Electronic Case Filing Administrative Policies and Procedures
     Manual (Jan. 2020) § II(C)(3), Dan G. Boyle hereby attests that all other signatories listed,
11
     and on whose behalf this filing is submitted, concur in the filing’s content and have
12   authorized its filing.
13
14
     Dated: March 16, 2022
15
                                              LIPSITZ GREEN SCIME CAMBRIA LLP
16                                               s/
                                              Paul J. Cambria, Jr.
17
                                              Erin McCampbell Paris
18                                            Attorneys for Michael Lacey
19                                            BIENERT | KATZMAN PC
20                                             s/
                                              Thomas H. Bienert, Jr.
21                                            Whitney Z. Bernstein
22                                            Attorneys for James Larkin

23
                                              BIRD MARELLA BOXER WOLPERT NESSIM
24                                            DROOKS LINCENBERG AND RHOW PC
25                                               s/
                                              Gary S. Lincenberg
26                                            Ariel A. Neuman
27                                            Gopi K. Panchapakesan
                                              Attorneys for Movant John Brunst
28


                                                 -3-
 1                                          FEDER LAW OFFICE PA
                                             s/
 2                                          Bruce Feder
                                            Attorneys for Movant Scott Spear
 3
 4                                          DAVID EISENBERG PLC
                                             s/
 5
                                            David Eisenberg
 6                                          Attorneys for Movant Andrew Padilla
 7                                          JOY BERTRAND ESQ LLC
 8                                            s/
                                            Joy Bertrand
 9                                          Attorneys for Movant Joye Vaught
10
                                            DANIEL J. QUIGLEY, PLC
11                                            s/
12                                          Daniel J. Quigley
                                            Attorneys for Movants Medalist Holdings, Inc.,
13                                          Leeward Holdings, LLC, Camarillo Holdings, LLC,
14                                          Vermillion Holdings, LLC, Cereus Properties, LLC,
                                            and Shearwater Investments, LLC
15
16
17
18
                                 CERTIFICATE OF SERVICE
19
20          I hereby certify that on March 16, 2022, I electronically transmitted the attached
21   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
22   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
23   as counsel of record.
24
     s/Marjorie Dieckman
25   U.S. Attorney’s Office
26
27
28


                                               -4-
